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Counsel for Nobuaki Kobayashi, in his capacity
as the Bankruptcy Trustee and Foreign Representative
of MtGox Co., Ltd., a/k/a MtGox KK

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 In re:                                               Chapter 15

 MtGox Co., Ltd. (a/k/a MtGox KK),                    Case No. 14-31229-sgj-15

                 Debtor in a Foreign Proceeding.


                   MOTION FOR ENTRY OF ORDER APPROVING
              AMENDED RECOGNITION HEARING NOTICE PROCEDURES

          Nobuaki Kobayashi, in his capacity as the bankruptcy trustee and foreign representative

(the “Foreign Representative”) of MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor”), a debtor in

a bankruptcy proceeding under Japanese law (the “Japan Proceeding”), currently pending before
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the Twentieth Civil Division of the Tokyo District Court in Japan (the “Tokyo Court”), by his

undersigned U.S. counsel, hereby moves (the “Motion”) for entry of an order, pursuant to

sections 105(a) and 1514 of title 11 of the United States Code (the “Bankruptcy Code”), and

Rules 2002, 9006, 9007 and 9008 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), approving amended procedures governing the time and manner for service

of the Recognition Hearing Notice (defined below). In support of the Motion, the Foreign

Representative respectfully states as follows:

                                JURISDICTION AND VENUE

        1.     This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(P).

        2.     Venue for this proceeding is proper before this Court pursuant to 28 U.S.C. §

1410.

        3.     The statutory predicates for the relief requested herein are Bankruptcy Code

Sections 105(a) and 1514, along with Bankruptcy Rules 2002, 9006, 9007 and 9008.

                                        BACKGROUND

        4.     On February 28, 2014, the Debtor, through its prior foreign representative, Mr.

Robert Marie Mark Karpeles, filed a petition (the “Japan Petition”) for the commencement of a

civil rehabilitation proceeding (the “Japan Civil Rehabilitation”) in the Tokyo Court pursuant to

Article 17(1) of the Japanese Corporate Reorganization Act (Kaisha Kosei Ho) (the “JCRA”).

        5.     On March 9, 2014, the Debtor filed a voluntary petition for relief under Chapter

15 of the Bankruptcy Code with the United States Bankruptcy Court for the Northern District of

Texas, Dallas Division (the “Court”), under the above-captioned case number 14-31229-sgj-15

(the “Chapter 15 Case”) and filed its Verified Petition for Recognition and Chapter 15 Relief

[Docket No. 2] (the “Recognition Petition”).


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          6.       On March 10, 2014, the Debtor filed the Emergency Application for an Order

Granting Provisional Relief Pursuant to Section 105(a) and 1519 of the Bankruptcy Code,

Scheduling Recognition Hearing, and Specifying Form and Manner of Notice [Docket No. 4].

On the same day, the Court entered its Order Granting Application for Provisional Relief,

Scheduling Recognition Hearing, and Specifying Form and Manner of Notice [Docket No. 13],

which, among other things, established a date for the hearing on the Recognition Petition (the

“Recognition Hearing”) that was originally set for April 1, 2014.

          7.       On March 20, 2014, the Debtor filed the Motion to Adjourn Recognition Hearing

[Docket No. 29], seeking adjournment of the Recognition Hearing to May 6, 2014.

          8.       On March 24, 2014, the Court entered its Order Granting Adjournment of

Recognition Hearing [Docket No. 36] (the “First Adjournment Order”), adjourning the

Recognition Hearing to May 6, 2014. Pursuant to the First Adjournment Order, the Court

approved a form of notice of adjournment of the Recognition Hearing (the “Recognition Hearing

Notice”) and required the Debtor to serve copies of the First Adjournment Order and the

Recognition Hearing Notice upon the Notice Parties1 no less than 23 days prior to the

Recognition Hearing.

          9.       On March 27, 2014, the Debtor filed the Emergency Motion to Approve Notice

Procedures [Docket No. 48] (the “Notice Procedures Motion”), seeking approval of the manner

by which it would serve the Recognition Hearing Notice.




1     The Notice Parties are: (i) the Debtor; (ii) all parties to the two pending lawsuits in the United States: (a)
      CoinLab, Inc. v. MtGox KK, Case No. 13-0777 (W.D. Wash. May 2, 2013) and (b) Greene v. MtGox Inc., Case
      No. 14-01437 (N.D. Ill. Feb. 27, 2014) (collectively, the “US Litigation Matters”); (iii) the Office of the United
      States Trustee for the Northern District of Texas; and (iv) such other parties as the Court may direct.


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       10.     On March 28, 2014, the Court entered its Order Granting Request for Emergency

Hearing [Docket No. 50], setting April 1, 2014 as the hearing date to consider the Notice

Procedures Motion.

       11.     On April 14, 2014, the Court entered its Order Adjourning the Recognition

Hearing and Granting Emergency Motion to Approve Notice Procedures [Docket No. 84] (the

“Second Adjournment Order”), further adjourning the Recognition Hearing to May 20, 2014.

Pursuant to the Second Adjournment Order, the Court required the Debtor to, among other

things: (i) serve copies of the revised Recognition Hearing Notice upon the Notice Parties by the

later of (a) 23 days prior to the Recognition Hearing or (b) three business days following the

filing of a party’s notice of appearance; (ii) notice each of the Debtor’s customers via electronic

mail on or before April 25, 2014; and (iii) cause the Publication Notice (defined in the Second

Adjournment Order) to be published on the Debtor’s website and on http://www.reddit.com.

       12.     On April 16, 2014, the Tokyo Court entered judgments (the “Japan April 16

Judgments”) as follows: (a) dismissing the Japan Petition; (b) ordering administration of the

Debtor’s assets by Mr. Kobayashi, in the capacity as a provisional administrator; (c) prohibiting

certain actions by creditors with regard to properties of the Debtor during the interim period

following the dismissal and prior to the commencement of a bankruptcy procedure for the

Debtor; and (d) prohibiting Mr. Kobayashi, in his capacity as the provisional administrator, from

undertaking certain actions with respect to the Debtor’s debt, properties and claims. Copies of

the Japan April 16 Judgments and their English translations were submitted to the Court as

Exhibits A, B, C and D, respectfully, to the Notice Pursuant to 11 U.S.C. § 1518 of Change in

Status of Foreign Proceeding and Appointment of Foreign Representative [Docket No. 108],

filed on April 28, 2014 (the “1518 Notice”).




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       13.    On April 24, 2014, the Tokyo Court entered an order formally commencing the

Debtor’s Japan Proceeding and appointing Mr. Kobayashi as bankruptcy trustee (the

“Bankruptcy Order”).     A copy of the Bankruptcy Order and its English translation were

submitted to the Court as Exhibit E to the 1518 Notice.

       14.    On April 25, 2014, the Foreign Representative formally retained Brown Rudnick

LLP and Garedere Wynne Sewell LLP to represent the Foreign Representative and filed notices

of appearance in this Chapter 15 case. See Docket Nos. 102 and 103.

       15.    On April 30, 2014, the Court held the Status Conference and, in light of the

changed circumstances arising from the Bankruptcy Order and related matters, the Court stated

on the record that it would adjourn the Recognition Hearing to June 17, 2014 and set May 23,

2014 as the deadline by which the Foreign Representative must file and serve an amended

Recognition Petition.

       16.    On May 7, 2014, following an April 30, 2014 status conference, the Court entered

the Scheduling Order [Docket No. 121] (the “Scheduling Order”), which, among other things:

(i) established May 23, 2014 at 5:00 p.m. (CDT) as the deadline for the Foreign Representative

to file and serve an amended Recognition Petition and related papers; and (ii) rescheduled the

Recognition Hearing for June 17, 2014 at 9:30 a.m (CDT).

                                    RELIEF REQUESTED

       17.    By this Motion, the Foreign Representative respectfully seeks entry of an

amended order, substantially in the form attached hereto as Exhibit A (the “Proposed Order”),

approving the time and manner for service of the Recognition Hearing Notice consistent with the

Scheduling Order.




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                                      BASIS FOR RELIEF

         18.   Bankruptcy Rule 2002(q)(1) provides that the parties identified therein must be

given at least twenty-one (21) days’ notice of a hearing to consider a petition for recognition of a

foreign proceeding. Pursuant to Bankruptcy Rule 9007, the form and manner of notice under the

Bankruptcy Rules shall be designated by the Court, unless otherwise provided by the Bankruptcy

Rules. Since Bankruptcy Rule 2002(a) does not specify the form and manner of notice required

for a hearing on a petition for recognition of a foreign proceedings, this Court is required to do

so.

         19.   Under the First Adjournment Order and Second Adjournment Order (together, the

“Prior Adjournment Orders”), this Court has already approved the form and manner of service of

the Recognition Hearing Notice and directed service no less than twenty-three (23) days from the

Recognition Hearing, the date of which was further adjourned by the Scheduling Order. Thus,

by this Motion, the Foreign Representative seeks approval of a revised version of the Second

Adjournment Order that reflects the hearing dates and deadlines established by the Scheduling

Order.

         20.   Specifically, the Foreign Representative proposes to serve the Recognition

Hearing Notice upon the Notice Parties that are known to the Foreign Representative as of the

date hereof on or before May 23, 2014 via United States First Class Mail and/or via email (at

their last mailing address or email address known to the Foreign Representative).

         21.   In addition, the Foreign Representative proposes to publish an abbreviated version

of the Recognition Hearing Notice, the text of which is attached to the Proposed Order as




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Exhibit B (the “Publication Notice”), on the Debtor’s website, https://www.mtgox.com; and on

http://www.reddit.com.2

          22.      Such manner of service would be most expedient, effective, and economical

under the circumstances, particularly given the online and digital nature of the Debtor’s business.

Accordingly, the Foreign Representative respectfully submits that such manner of service

constitutes adequate and sufficient notice of the Recognition Hearing and the relief sought

therein.

          23.      Furthermore, as set forth in the Second Adjournment Order, if any party files a

notice of appearance in this case, the Foreign Representative shall serve the Recognition Hearing

Notice upon such party by the later of (a) 23 days prior to the Recognition Hearing; or (b) three

business days following the filing of such notice of appearance, unless such party or its counsel

has otherwise already been served with the Recognition Hearing Notice.

          24.      In addition, the Foreign Representative seeks approval of deadlines for filing

objections to the amended Recognition Petition and a reply to such objections, if any.

Specifically, the Foreign Representative respectfully requests that the deadline for filing

objections and/or responses to the amended Recognition Petition be set for 4:00 p.m.

(prevailing Central Time) on June 6, 2014 and the deadline for the Foreign Representative to




2     The Foreign Representative notes that the Second Adjournment Order required the prior foreign representative
      to send the Recognition Hearing Notice to the Debtor’s customers via electronic mail. The Proposed Order
      does not contain this provision because the Foreign Representative has not, to date, used the Debtor’s e-mail
      system to communicate with customers, and has relied on publication of notices on the MtGox website to
      communicate with customers, including with respect to the Japan Proceeding. Although the Foreign
      Representative does have access to the Debtor’s e-mail system, he is currently in the process of reconciling the
      information on the system to determine which customers had a cash or bitcoin balance with the MtGox
      exchange when it was shut down. When that process is completed and there is an accurate list of current
      customers, the Foreign Representative intends to establish a new e-mail system to provide communications
      regarding the Japan Proceeding. Under the circumstances, including the current communication and notice
      procedures in place and the online nature of the Debtor’s business, the Foreign Representative submits that
      publication of the Recognition Hearing Notice via website is sufficient notice to the Debtor’s customers.


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file a reply to any such objections be set for 4:00 p.m. (prevailing Central Time) on June 13,

2014.

                            CERTIFICATE OF CONFERENCE

        25.    Counsel for the Foreign Representative has conferred with the Office of the

United States Trustee for the Northern District of Texas, counsel for plaintiffs Gregory Greene

and Joseph Lack, and counsel for CoinLab, Inc. and was advised that they were not opposed to

this Motion.




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                                        CONCLUSION

         WHEREFORE, the Foreign Representative respectfully requests that this Court (a) grant

the Motion; (b) enter an order, substantially in the form attached hereto as Exhibit A, amending

the time and manner for service of the Recognition Hearing Notice; and (c) grant the Foreign

Representative such other and further relief as the Court deems just and proper.


Dated:    May 12, 2014                       Respectfully submitted,
          Dallas, Texas
                                             GARDERE WYNNE SEWELL LLP

                                             /s/ Marcus A. Helt
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                                             Thomas Scannell (TX 24070559)
                                             Gardere Wynne Sewell LLP
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                                             Counsel for Nobuaki Kobayashi, in his capacity
                                             as the Bankruptcy Trustee and Foreign
                                             Representative of MtGox Co., Ltd., a/k/a MtGox KK




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                              Exhibit A:
                            Proposed Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


    In re:                                                       Chapter 15

    MtGox Co., Ltd. (a/k/a MtGox KK),                            Case No. 14-31229-sgj-15

                   Debtor in a Foreign Proceeding.


                         ORDER GRANTING APPROVAL OF AMENDED
                        RECOGNITION HEARING NOTICE PROCEDURES

             Upon the Foreign Representative’s Motion to Approve Amendment to Notice Procedures

with Respect to Recognition Hearing >'RFNHW 1R Ɣ@ WKH ³0RWLRQ´ 1 seeking approval of the

time and manner for the service of the Recognition Hearing Notice pursuant to sections 105(a)

and 1514 of title 11 of the United States Code (the “Bankruptcy Code”), and Rules 2002, 9006,

9007 and 9008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”); and the

Court having determined that the relief requested in the Motion is in the best interests of the

Debtor, its estate, its creditors, and other parties in interest; and it appearing that proper and


1     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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adequate notice of the Motion has been given and that no other or further notice is necessary; and

upon the record herein; and after due deliberation thereon; and good and sufficient cause

appearing therefore, it is hereby

       ORDERED, ADJUDGED AND DECREED that:

       1.      The Motion is GRANTED.

       2.      The Prior Adjournment Orders are superseded by the terms of this Order and the

Scheduling Order.

       3.      The form of revised Recognition Hearing Notice, attached hereto as Exhibit A is

hereby approved.

       4.      The Foreign Representative shall serve the Recognition Hearing Notice upon the

Notice Parties that are known to the Foreign Representative as of the date hereof on or before

May 23, 2014 via Untied States First Class Mail and/or via email (at their last known mailing

address or email address, if for whom the Foreign Representative has such addresses).

       5.      The form of abbreviated version of the Recognition Hearing Notice attached

hereto as Exhibit B (the “Publication Notice”) is hereby approved.

       6.      The Foreign Representative shall cause the Publication Notice to be published on

the Debtor’s website, https://www.mtgox.com, and on http://www.reddit.com on or before May

23, 2014.

       7.      If any party files a notice of appearance in this case, the Foreign Representative

shall serve the Recognition Hearing Notice upon such party by the later of (a) twenty-three (23)

days prior to the Recognition Hearing; or (b) three (3) business days following the filing of such

notice of appearance, unless such party or its counsel has otherwise already been served with the

Recognition Hearing Notice.




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       8.      Service pursuant to this Order shall be good and sufficient service and adequate

notice of the Recognition Hearing.

       9.      Any objections or responses to the amended Recognition Petition shall be filed

with the Court and served upon the Notice Parties so as to be received on or before 4:00 p.m.

(prevailing Central Time) on June 6, 2014.

       10.     If any objections or responses are timely filed and served, the Foreign

Representative may file with the Court, and if filed shall serve upon the Notice Parties, a reply to

such objections or responses so as to be received on or before 4:00 p.m. (prevailing Central

Time) on June 13, 2014.

                                  # # # END OF ORDER # # #




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Prepared and Submitted by:

GARDERE WYNNE SEWELL LLP


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as the Bankruptcy Trustee and Foreign
Representative of MtGox Co., Ltd., a/k/a MtGox KK




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                                 EXHIBIT A:

                  Revised Form of Recognition Hearing Notice
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Counsel for Nobuaki Kobayashi, in his capacity
as the Bankruptcy Trustee and Foreign Representative
of MtGox Co., Ltd., a/k/a MtGox KK

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


 In re:                                             Chapter 15

 MtGox Co., Ltd. (a/k/a MtGox KK),                  Case No. 14-31229-sgj-15

                Debtor in a Foreign Proceeding.


                          NOTICE OF RECOGNITION HEARING

          PLEASE TAKE NOTICE that a hearing (the “Recognition Hearing”) on the Amended

Verified Petition for Recognition and Chapter 15 Relief >'RFNHW 1R Ɣ@ WKH ³$PHQGHG

Recognition Petition”) filed by Nobuaki Kobayashi, in his capacity as the bankruptcy trustee and

foreign representative (the “Foreign Representative”) of MtGox Co., Ltd., a/k/a MtGox KK (the
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“Debtor”), seeking recognition of the Debtor’s bankruptcy proceeding, pending before the

Twentieth Civil Division of the Tokyo District Court, Japan, as a foreign main proceeding

pursuant to Chapter 15 of the United States Bankruptcy Code and other related relief under

Chapter 15, has been scheduled for June 17, 2014 at 9:30 a.m. (prevailing Central Time), and

will take place before the Honorable Stacey G.C. Jernigan, at the United States Bankruptcy

Court, Northern District of Texas, 14th Floor, 1100 Commerce Street, Dallas, Texas 75252.

         PLEASE TAKE FURTHER NOTICE that responses or objections, if any, to the

Amended Recognition Petition shall be filed with this Court and served by mail or email upon:

(i) the United States lead counsel to the Foreign Representative at Brown Rudnick LLP, Seven

Times Square, 47th Floor, New York, NY                 10036 (attn:         David J. Molton,

dmolton@brownrudnick.com and Daniel J. Saval, dsaval@brownrudnick.com); (ii) the United

States local counsel to the Foreign Representative at Gardere Wynne Sewell LLP, 1601 Elm

Street, Suite 3000, Dallas, TX 75201-3000 (attn: Marcus A. Helt, mhelt@gardere.com and

Thomas Scannell, tscannell@gardere.com); (iii) counsel to the United States Trustee at

Lisa.L.Lambert@usdoj.gov; (iv) counsel to plaintiffs in the Chicago putative class action or

“Greene” action at Haynes and Boone, LLP, 2323 Victory Avenue, Suite 700, Dallas, TX 75219

(attn:    Robin    E.    Phelan,    robin.phelan@haynesboone.com      and    Stephen    Manz,

stephen.manz@haynesboone.com), Honigman Miller Schwartz and Cohn LLP, 2290 First

National Building, 660 Woodward Avenue, Detroit, MI 48226 (attn:               Scott B. Kitei,

skitei@honigman.com), and Edelson P.C., 350 North LaSalle Street, Suite 1300, Chicago, IL

60654     (attn:   Jay   Edelson,    jedelson@edelson.com    and   Steven      L.   Woodrow,

swoodrow@edelson.com); and (v) counsel to CoinLab, Inc. at Morrison & Foerster LLP, 425

Market Street, San Francisco, CA 94105 (attn: Larry Engel, lengel@mofo.com and Vincent J.




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Novak, vnovak@mofo.com) so as to be received on or before 4:00 p.m. (prevailing Central

Time) on June 6, 2014.

         PLEASE TAKE FURTHER NOTICE that copies of the Amended Recognition

Petition and accompanying papers are available to parties-in-interest on the Bankruptcy Court’s

Electronic   Case    Filing   System,     which       can   be   accessed   at   this   website:

http://www.txnb.uscourts.gov/ (a PACER login and password are required to retrieve a

document), or upon written notice, by mail or email, to the United States counsel to the Foreign

Representative at the contact information above.

Dated:    __________, 2014                  Respectfully submitted,
          Dallas, Texas
                                            GARDERE WYNNE SEWELL LLP

                                            /s/ Marcus A. Helt
                                            Marcus A. Helt (TX 24052187)
                                            Thomas Scannell (TX 24070559)
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                                            Counsel for Nobuaki Kobayashi, in his capacity
                                            as the Bankruptcy Trustee and Foreign
                                            Representative of MtGox Co., Ltd., a/k/a MtGox KK




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                                 EXHIBIT B:

                           Revised Publication Notice




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                         NOTICE OF RECOGNITION HEARING

            In re MtGox Co., Ltd. (a/k/a MtGox KK), Case no. 14-31229-sgj-15
    United States Bankruptcy Court for the Northern District of Texas, Dallas Division

        PLEASE TAKE NOTICE that a hearing (the “Recognition Hearing”) on the Amended
Verified Petition for Recognition and Chapter 15 Relief >'RFNHW 1R Ɣ@ WKH ³$PHQGHG
Recognition Petition”) filed by Nobuaki Kobayashi, in his capacity as the bankruptcy trustee and
foreign representative (the “Foreign Representative”) of MtGox Co., Ltd., a/k/a MtGox KK (the
“Debtor”), seeking recognition of the Debtor’s bankruptcy proceeding, pending before the
Twentieth Civil Division of the Tokyo District Court, Japan, as a foreign main proceeding
pursuant to Chapter 15 of the United States Bankruptcy Code and other related relief under
Chapter 15, has been scheduled for June 17, 2014 at 9:30 a.m. (prevailing Central Time), and
will take place before the Honorable Stacey G.C. Jernigan, at the United States Bankruptcy
Court, Northern District of Texas, 14th Floor, 1100 Commerce Street, Dallas Texas 75252.

        PLEASE TAKE FURTHER NOTICE that responses or objections, if any, to the
Amended Recognition Petition shall be filed with this Court and served by mail or email upon:
(i) the United States lead counsel to the Foreign Representative at Brown Rudnick LLP, Seven
Times Square, 47th Floor, New York, NY                   10036 (attn:     David J. Molton,
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Time) on June 6, 2014.

        PLEASE TAKE FURTHER NOTICE that copies of the Amended Recognition
Petition and accompanying papers are available to parties-in-interest on the Bankruptcy Court’s
Electronic Case Filing System, which can be accessed at this website:
http://www.txnb.uscourts.gov/ (a PACER login and password are required to retrieve a
document), or upon written notice, by mail or email, to the United States counsel to the Foreign
Representative at the contact information above.
